Case 2:05-cr-20221-BBD Document 5 Filed 06/16/05 Page 1 of 2 Page|D 4

Fil..i?l`.i! -5:~`;" q at lIl,C.

UNITED sTATEs DIs'rRICT CoURT
WESTERN DISTRICT oF TENNESSEE 05 JUN l6 PH h= h9
Westerll Divisioo

t::,-_-,t " el tactic
ct u.e. oisT. cT.
§§ W.n. o:= rN. MEMPi-!ls

UNITED STATES OF AMERICA

-vs- Case No. 2:05cr20221-B
MARK A. TAYLOR

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
TUESDAY, JUNE 21, 2005 at 2:30 P.M. before United States Magistrate Judge Tu M. Pham in
Courtroom No. 6, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearing.
Date: June 16, 2005

S. THOMAS ANDERSON
UN.[TED STATES MAGISTRATE JUDGE

 

‘lf not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3142(£)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (BIBS) Order of Temponary Detention

This doct,ment entered on the docket sheet ln gnptia a
with R\t|e 55 and/or 32tbl FHCrP on M

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 5 in
case 2:05-CR-20221 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

